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                      UNITED STATES DISTRICT COURT
                                        FOR THE
                               MIDDLE DISTRICT OF FLORIDA

LISA COOPER NETTLES,                            )
                                                )     Case No.
         Plaintiff                              )
                                                )
         v.                                     )
                                                )
CANTEX, INC.,                                   )
                                                )
         Defendant.                             )


                       COMPLAINT AND DEMAND FOR JURY TRIAL

         COMES NOW, Plaintiff, LISA COOPER NETTLES, by and through the undersigned

counsel and sues the Defendant, CANTEX, INC., (hereinafter “Defendant” or “Cantex) and states as

follows:

                                            PARTIES

1.       LISA COOPER NETTLES, Plaintiff, (hereinafter “Plaintiff”), is a resident of the state of

Florida and was at all relevant time residing in Polk County, Florida.

2.       CANTEX, INC., Defendant, is a corporation and at all relevant times doing business in the

State of Florida, with a physical address of 202 Progress Road, Auburndale, Polk County, Florida

33823.

3.       Plaintiff was employed by the Defendant and assigned to the facility at the Auburndale, Polk

County, Florida location.

                               JURISDICTION AND VENUE

4.       Jurisdiction is invoked pursuant to 29 U.S.C § § § 1331, 1343 1367.

5.       Venue lies pursuant to 28 U.S.C. §1391(b), as Plaintiff’s claims arise out of her employment

relationship with the Defendant, Cantex, Inc., while employed with the facility in Auburndale, Polk

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County, Florida which is located in the United States District Court for the Middle District of

Florida, Tampa Division.

                                      GENERAL ALLEGATIONS

6.     At all times material, Defendant acted with malice and reckless disregard for Plaintiff’s

federal and state protected rights.

7.     At all times material, the Plaintiff was qualified to perform her job duties within the

expectations of her employer.

8.     Plaintiff has retained the undersigned counsel to represent her in this action and is obligated

to pay them a reasonable fee for their services.

                         EXHAUSTION OF ADMINISTRATIVE REMEDIES

9.     Plaintiff made a charge of discrimination with the Equal Employment and Opportunity

Commission (“EEOC”) and the Florida Commission on Human Relations on (“FCHR”) on February

27, 2019, (see Exhibit A).

10.    On October 17, 2019 the EEOC issued a dismissal and Notice of Rights. A copy of the

Dismissal and Notice of Rights was received by the Plaintiff, after several requests, via electronic

mail on December 12, 2019 (see Exhibit B). This Complaint has been filed within ninety (90) days

of the receipt of the Dismissal and Notice of Rights; therefore, has met all conditions precedent to

filing this Complaint.

11.    Plaintiff has satisfied all conditions precedent, therefore jurisdiction over this claim is

appropriate pursuant to Chapter 760, Florida Statues, because more than one-hundred and eight

(180) days have passed since the filing of this Charge.




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                                   FACTUAL ALLEGATIONS

12.    On May 27, 2002, Plaintiff began her employment with the Defendant.

13.    Plaintiff held various positions while employed with the Defendant, in the Molding

Department, the Quality Control Department and the Shipping Department. At the end of the

Plaintiff’s employment, she was assigned to the Shipping Department.

14.    Plaintiff’s annual evaluations were satisfactory. There were no issues noted regarding her

ability to perform her assigned work duties.

15.    Plaintiff, while working in the plant of the Defendant, was exposed to a hostile work

environment.

16.    Plaintiff worked in a racial hierarchical caste system. This system reflected

Whites/Caucasian employees at the top of the system, the Hispanic/Latino in the middle and the

Black/African American employees at the bottom of the caste.

17.    Plaintiff was routinely subjected to the term of “nigger” being used in the plant by white

employees. The white employees were not subject to discipline pursuant to the company’s

progressive disciplinary policy despite the use of a patently offensive racial comments. The term

was used openly and in the presence of plant supervisors of Caucasian descent.

18.    The Defendant allowed a white employee to wear a black face costume during an entire eight

(8) hour work shift. Plaintiff viewed the white employee in black face during her entire work shift.

The employee, while wearing the black face, took a picture with then plant manager, John Davies.

Plaintiff complained to her shift supervisor about the offensive costume.

19.    This white employee also routinely wore clothing with racially offensive terms. The

employee was never disciplined or terminated for any of the racially insensitive actions. Plaintiff

complained to shift supervisor about the white employee wearing the offensive clothing.



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20.    Further, Plaintiff was subject to close monitoring of her work performance and disparate

treatment by white supervisors.

21.    If Plaintiff or other African American employees issued formal complaints about racial

discrimination they were harshly discipline or terminated.

22.    In 2008, Richard Bailey (Caucasian) became the Plaintiff’s direct supervisor.

23.    After Richard Bailey became her direct supervisor, he often engaged in inappropriate sexual

jokes and comments around the Plaintiff. He also openly made direct requests for a sexual

relationship with Plaintiff.

24.    In or around 2012, Richard Bailey exposed his penis to the Plaintiff while she was in his

plant office. Plaintiff did not report the incident for fear of immediate termination by the Defendant.

25.    Later in 2012, Richard Bailey requested for the Plaintiff to come into his office alone.

Richard Bailey purposely threw a writing pen on the floor, directly between his legs while seated at

the desk, he then ordered the Plaintiff to pick the pen up between his legs. Plaintiff did not report the

incident for fear of termination due to the already pervasive environment of racial discrimination.

26.    Shortly thereafter, again in 2012, Richard Bailey ordered the Plaintiff into the conference

room alone under the guise of finding work supplies. Richard Bailey again exposed his penis to the

Plaintiff and touched her buttocks.

27.    Plaintiff was then directly threatened by Richard Bailey after the incident that she would be

terminated if she revealed any of his actions to the human resources department. Plaintiff did not

report the incident.

28.    The Plaintiff however did communicate with other female employees who also had been

victims of sexual harassment by Richard Bailey. Those female employees had also failed to disclose

the sexual harassment for fear of termination of their employment by the Defendant.



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29.    From 2012-2018, the sexual comments regarding the Plaintiff’s body and repeated requests

to engage in a sexual relationship continued to occur by Richard Bailey. Richard Bailey continued

to issue threats to the Plaintiff to terminate her employment if she revealed the assault and

harassment.

30.     In or around July 2018, Plaintiff made statements to an internal auditor concerning disparate

treatment at the plant because of her race.

31.    Richard Bailey immediately disciplined the Plaintiff when he learned of the comments.

32.    In or around September 2018, Richard Bailey, during the work shift, made the comment “I

want to lick your pussy,” to the Plaintiff.

33.    Plaintiff after being subject to the threats and sexual harassment, reported Richard Bailey’s

current comment, assault, and the exposure of his sexual organs to the director of Human Resources,

Jean James, (Caucasian).

34.    The intimidation through the reporting process continued; Richard Bailey would follow the

Plaintiff to the human resources department while she was in the process of filing the complaint.

Plaintiff made Jean James aware that Richard Bailey was following her to the office to the point that

she was hesitant to report what was happening to her.

35.    Plaintiff was immediately suspended from work for one (1) week after she reported the

incident.

36.    Plaintiff returned to work after the suspension, and thereafter had a meeting with Steve

Ediger, Vice President of Cantex (Caucasian).

37.    During the meeting with Steve Ediger, which occurred on or around November 2018, the

Plaintiff, other African American employees, and female employees reported past and present

incidents of racial discrimination, racial intimidation and sexual harassment.



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38.     The Plaintiff reported the years of sexual harassment and sexual assault by Richard Bailey.

39.     The Plaintiff made a very explicit report to Steve Ediger concerning the Richard Bailey’s

behavior towards her: exposure of his penis, touching of her buttocks, repeated requests for a sexual

relationship and ongoing sexual comments about her body.

40.     The Plaintiff’s female co-workers, who were victims of sexual harassment by Richard

Bailey, reported incidents of sexual harassment by Richard Bailey to Steve Ediger at this meeting.

41.     Steve Ediger was also informed of the history and pattern of racial discrimination,

intimidation, and disparate treatment that was occurring within the plant. He was informed by the

Plaintiff of the hostile work environment for herself and African Americans that existed since her

employment with the Defendant.

42.     Steve Ediger was shown a picture of the white employee in blackface, who was still

employed with the plant at that time in a supervisory position.

43.     Plaintiff, after her suspension, was transferred to the shipping department after she

complained about the sexual harassment. While at this new position, which was located in a different

area of the plant than her previous position, Richard Bailey who is still employed with the plant,

continued to present himself to the Plaintiff to intimidate her.

44.     On January 2, 2019, Plaintiff without warning, was terminated by Steve Ediger, via phone for

viewing a cartoon video on her personal phone while on a work break.

                                               COUNT I

                           RACE DISCRIMINATION - 42 U.S.C. §1981

45.     Plaintiff repeats and realleges the allegations as set forth in paragraphs 1 through 44 above as

if set forth herein.

46.     Plaintiff is a member of a protected class under 42 U.S.C. §1981.



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47.     By the conduct described above, the Defendant, a private employer, engaged in unlawful

employment practices and discriminated against the Plaintiff because of her race.

48.     Plaintiff and Defendant were parties to an employment agreement under which Plaintiff

worked for the Defendant and Plaintiff was compensated.

49.     Plaintiff performed her contractual obligations.

50.     Defendant violated Plaintiff’s rights under 42 U.S.C. §1981 by disciplining and terminating

her employment because of race.

51.     The actions of the Defendant were intentional and deliberate.

52.     The actions of the Defendant were motivated by race-based considerations.

53.     As a direct and proximate result of the discriminatory actions of the Defendant, Plaintiff

suffered and continues to suffer mental anguish, physical and emotional distress, loss of income and

benefits.

                                              COUNT II

                              TITLE VII – RACE DISCRIMINATION

54.     Plaintiff repeats and alleges the allegations set forth in paragraphs 1 through 44 above as if

set forth in full herein.

55.     Plaintiff is a member of a protected class under Title VII of the Civil Rights Act of 1964, 42

U.S.C. §2000e, et seq. (“Title VII).

56.     Plaintiff was an employee and the Defendant was her employer covered by and within the

meaning of Title VII.

57.     As Plaintiff’s employer, Defendants had a duty to refrain from discrimination against the

Plaintiff on the basis of race.




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58.     Defendant by the conduct mentioned above engaged in unlawful practices and discriminated

against the Plaintiff because of her race.

59.     Defendant’s harassment, retaliation, disparate treatment and subsequent termination as

described above, were based on her race.

60.     Defendant treated employees Caucasian and Hispanic employees more favorably than

Plaintiff in the terms, conditions and or/benefits of employment.

61.     The actions of the Defendant were intentional and in deliberate disregard of the rights of the

Plaintiff.

62.     As a direct and proximate result of Defendant’s unlawful discrimination, Plaintiff has

suffered and continues to suffer damages including but not limited to mental anguish, physical and

emotional distress, loss of income and benefits.

                                              COUNT III

                   TITLE VII – RACE DISCRIMINATION – (RETALIATION)

63.     Plaintiff repeats and alleges the allegations set forth in paragraphs 1 through 44 above as if

set forth in full herein.

64.     Plaintiff is a member of a protected class under Title VII of the Civil Rights Act of 1964, 42

U.S.C. §2000e, et seq. (“Title VII).

65.     Plaintiff was an employee and the Defendant was her employer covered by and within the

meaning of Title VII.

66.     As Plaintiff’s employer, Defendants had a duty to refrain from retaliation against the Plaintiff

on the basis of race.




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67.     Defendant by the conduct described above engaged in unlawful practices and discriminated

against the Plaintiff because of her race after she complained of unequal treatment and practices

within the plant.

68.     Defendant’s unlawful retaliation and subsequent termination of Plaintiff’s employment as

described above, were based on her race.

69.     The actions of the Defendant were intentional and in deliberate disregard of the rights of the

Plaintiff.

70.     As a direct and proximate result of Defendant’s unlawful discrimination, Plaintiff has

suffered and continues to suffer damages including but not limited to mental anguish, physical and

emotional distress, loss of income and benefits.

                                              COUNT IV

                        FLORIDA CIVIL RIGHTS ACT OF 1992 – (RACE)

71.     Plaintiff repeats and alleges the allegations set forth in paragraphs 1 through 44 above as if

set forth in full herein.

72.     Plaintiff is a member of a protected class under Florida Civil Rights Act, Chapter 760,

Florida Statutes (“FCRA”).

73.     Plaintiff was an employee and the Defendant was her employer covered by and within the

meaning of the Florida Civil Rights Statute of the FCRA.

74.     As Plaintiff’s employer, Defendants had a duty to refrain from discrimination against the

Plaintiff on the basis of race.

75.     Defendant by the conduct described above engaged in unlawful practices and discriminated

against the Plaintiff because of her race.




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76.     Defendant’s harassment, retaliation, disparate treatment and subsequent termination of her

employment as described above, were based on her race.

77.     Defendant treated Caucasian and Hispanic employees more favorably than Plaintiff in the

terms, conditions and or/benefits of employment.

78.     The actions of the Defendant were intentional and in deliberate disregard of the rights of the

Plaintiff.

79.     As a direct and proximate result of Defendant’s unlawful discrimination, Plaintiff has

suffered and continues to suffer damages including but not limited to mental anguish, physical and

emotional distress, loss of income and benefits.

                                               COUNT V

              FLORIDA CIVIL RIGHTS ACT OF 1992 – (RETALIATION-RACE)

80.     Plaintiff repeats and alleges the allegations set forth in paragraphs 1 through 44 above as if

set forth in full herein.

81.     Plaintiff is a member of a protected class under Florida Civil Rights Act, Chapter 760,

Florida Statutes (“FCRA).

82.     Plaintiff was an employee and the Defendant was her employer covered by and within the

meaning of the Florida Civil Rights Statute of the FCRA.

83.     As Plaintiff’s employer, Defendants had a duty to refrain from discrimination against the

Plaintiff on the basis of race.

84.     Plaintiff by the conduct described above, Defendant engaged in unlawful practices and

retaliated against the Plaintiff because of her race.

85.     Defendant’s harassment, retaliation, disparate treatment and subsequent termination as

described above, were based on her race.



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86.     Defendant treated employees Caucasian and Hispanic employees more favorably than

Plaintiff in the terms, conditions and or/benefits of employment.

87.     The actions of the Defendant were intentional and in deliberate disregard of the rights of the

Plaintiff.

88.     As a direct and proximate result of Defendant’s unlawful discrimination, Plaintiff has

suffered and continues to suffer damages including but not limited to. mental anguish, physical and

emotional distress, loss of income and benefits.

                                                COUNT VI

                   FLORIDA CIVIL RIGHTS ACT – SEX DISCRIMINATION

89.     Plaintiff repeats and alleges the allegations set forth in paragraphs 1 through 44 above as if

set forth in full herein.

90.     Plaintiff is a member of a protected class under the Florida Civil Rights Act, Chapter 760,

Florida Statutes (“FCRA”).

91.     Defendant engaged in unlawful employment practices and discriminated against Plaintiff

because of her sex (gender).

92.     Defendant’s adverse employment decisions were motivated by sex-based considerations.

93.     The Defendant’s actions towards plaintiff were done with malice, were intentional and

willful in deliberate disregard of the rights of the Plaintiff.

94.     As a direct and proximate result of Defendant’s violation of the Plaintiff’s rights as alleged,

Plaintiff’s terms, conditions and privileges of employment were adversely affected.

95.     As a direct and proximate result of Defendant’s wrongful acts Plaintiff has suffered damages

and continues to suffer damages including, but not limited to loss of earnings, loss of career

opportunities, loss of benefits, mental anguish, and emotional distress.



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                                               COUNT VII

                    FLORIDA CIVIL RIGHTS ACT – (RETALIATION - SEX)

96.     Plaintiff repeats and alleges the allegations set forth in paragraphs 1 through 44 above as if

set forth in full herein.

97.     Plaintiff is a member of a protected class under the Florida Civil Rights Act, Chapter 760,

Florida Statutes (“FCRA”).

98.     Defendant engaged in unlawful employment practices and retaliated against Plaintiff because

of her sex (gender) after she complained of sexual harassment and sexual assault.

99.     Defendant’s adverse employment decisions to suspend and then terminate the Plaintiff’s

employment were retaliatory actions motivated by sex-based considerations.

100.    The Defendant’s actions towards plaintiff were done with malice, were intentional and

willful in deliberate disregard of the rights of the Plaintiff.

101.    As a direct and proximate result of Defendant’s violation of the Plaintiff’s rights as alleged,

Plaintiff’s terms, conditions and privileges of employment were adversely affected.

102.    As a direct and proximate result of Defendant’s wrongful acts Plaintiff has suffered damages

and continues to suffer damages including, but not limited to loss of earnings, loss of career

opportunities, loss of benefits, mental anguish, and emotional distress.

                                         RELIEF REQUESTED

1.      WHEREFORE, for the foregoing reasons, the Plaintiff respectfully requests that this Court

enter judgment in her favor and against the Defendant on each of her respective claims, and:

        a.      Order that the Defendant implement effective steps to eliminate race and sex

                discrimination in the workplace;

        b.      Award the Plaintiff back pay and benefits;



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       c.     Prejudgment interest on back pay and benefits;

       d.     Front pay and benefits;

       e.     Compensatory damages for mental anguish, emotional pain and suffering,

              inconvenience, loss of enjoyment of life and humiliation;

       f.     Punitive damages;

       g.     Attorneys’ fees and costs;

       h.     Award Plaintiff all other relief as the Court deems appropriate.

                                                                                          .
Date: February 4, 2020                               By: /s/Octavia Brown
                                                     Trial Counsel for Plaintiff
                                                     Octavia Brown
                                                     Florida Bar Number: 0011778

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